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     Attorney for Defendant
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8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11

12   UNITED STATES OF AMERICA,          )                 2:07-CR-00248-26 WBS
                                        )
13
                             Plaintiff, )
14                                      )                 STIPULATION AND
     v.                                 )                 ORDER TO MODIFY BRIEFING
15                                      )                 SCHEDULE
                                        )
16
     GABRIEL CARACHEO,                  )
17                                      )
                             Defendant. )
18   __________________________________ )
19
            On October 13, 2016, Mr. Caracheo filed a motion to reduce his sentence pursuant to 18
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     U.S.C. § 3582(c)(2). ECF No. 1445. The court denied Mr. Caracheo’s motion, ECF No. 1545 at
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22   p. 4, and Mr. Caracheo appealed, ECF No. 1563. On October 29, 2018, the Ninth Circuit issued

23   a memorandum decision, remanding the case to the district court to reconsider its denial of Mr.
24
     Carracheo’s motion in light of the United States Supreme Court’s decision in Hughes v. United
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     States, 138 S. Ct. 1765 (2018). ECF No. 1615 at p. 2. On December 17, 2018, the parties
26
     appeared at a status conference and the court set a briefing schedule as follows: opening brief to
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                        STIPULATION AND ORDER TO MODIFY BRIEFING SCHEDULE - 1
             Case 2:07-cr-00248-WBS Document 1629 Filed 03/28/19 Page 2 of 3


1    be filed by January 31, 2019; the government’s opposition to be filed by February 14, 2019; and
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     any reply to the government’s opposition to be filed by February 21, 2019. ECF No. 1621.
3
            On February 28, 2019, the court granted the parties request to extend the government’s
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     time to file its opposition to March 15, 2019, with any reply to be due on March 22, 1019. ECF

6    No. 1626. The government submitted its brief on March 15, 2019. ECF No. 1627.
7           Ms. Radekin needs more time to assess any new case law relating to the United States
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     Supreme Court’s decision in Hughes and to prepare the reply brief. Mr. Hitt has no objection to
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     this request. Accordingly, the parties stipulate and request that the date due for the reply be
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11   modified to April 26, 2019. Assistant United States Attorney Jason Hitt has authorized Ms.

12   Radekin to sign this stipulation on his behalf.
13
     IT IS SO STIPULATED.
14
     Dated: March 21, 2019                                 MCGREGOR SCOTT
15                                                         United States Attorney
16
                                                   By:      /s/ Jason Hitt
17                                                         JASON HITT
                                                           Assistant United States
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19
     Dated: March 21, 2019                                 /s/ Erin J. Radekin
20                                                         ERIN J. RADEKIN
                                                           Attorney for Defendant
21                                                         GABRIEL CARACHEO
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                         STIPULATION AND ORDER TO MODIFY BRIEFING SCHEDULE - 2
             Case 2:07-cr-00248-WBS Document 1629 Filed 03/28/19 Page 3 of 3


1                                                ORDER
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            Pursuant to the unopposed request, and good cause appearing therefor, it is hereby
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     ordered that the date due for the reply to the government’s opposition is April 26, 2019.
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6           DATED: March 27, 2019
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                                             _______________________________________
10                                           MORRISON C. ENGLAND, JR.
                                             UNITED STATES DISTRICT JUDGE
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                        STIPULATION AND ORDER TO MODIFY BRIEFING SCHEDULE - 3
